
343 Ill. App. 460 (1951)
99 N.E.2d 393
Raymond Brown and Leslie Orcutt, Plaintiffs-Appellants,
v.
Charles L. Gill and Carol V. Gill, Defendants-Appellees.
Gen. No. 9,727.
Illinois Appellate Court.
Opinion filed May 31, 1951.
Released for publication June 26, 1951.
*461 Douglass &amp; Wilson, and Pree &amp; Pree, for appellants.
L.G. Pefferle, for appellees.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE O'CONNOR.
Affirmed.
Not to be published in full.
